    Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 1 of 17
                                                                                             EXHIBIT B




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Robyn W. Kube                                         Siena Square Building                               Nathan A. Klotz
Karl F. Kumli, III*†                                2060 Broadway, Suite 400                                 K.C. Cunilio
Carmen S. Danielson                                 Boulder, Colorado 80302                       *Christina M. Gonsalves
Renée Ezer*                                         Telephone (303) 447-1375
Stephen A. Closky                                       Fax (720) 805-2051                                   Of Counsel:
Tucker M. Katz                                        www.dietzedavis.com                                Joel C. Maguire
Mark D. Detsky                                                                                            Star L. Waring
William A. Rogers, III                           Email: wrogers@dietezedavis.com                      Nicholas G. Muller
Joshua E. Anderson
Jennifer L. Lorenz                                                                           Peter C. Dietze 1934-2019
Gabriella Stockmayer                                                                           Joel C. Davis 1936-2013
Carolyn R. Steffl
                                                                                            *Also admitted in California
                                                                                          †Also admitted in New Mexico

                                                       August 4, 2022


        Andrew D. Ringel, Esq.       (Via e-mail: ringela@hallevans.com)
        Hall & Evans, LLC
        1001 Seventeenth Street, Suite 300
        Denver, CO 80202

                  Re:     Sara Fitouri, et. al. v. City and County of Denver, et. al.
                          United States District Court for the District of Colorado
                          Civil Action No. 20-cv-1878-RBJ-MEH
                          Dietze and Davis File No. 11203.001

        Dear Mr. Ringel:

               The following are my opinions with respect to the reasonableness of the attorney’s fees
        claimed by Plaintiffs Sara Fitouri, Jacquelyn Parkins, Joe Deras, Claire Sannier and Kelsey Taylor
        (the “Fitouri Plaintiffs”) in the above-referenced matter. In connection with my review and in
        reaching the opinions that I express below, I reviewed the following:

                  1.     United States District Court Civil Docket for Case No. 20-cv-1878-RBJ;

                  2.     Complaint filed June 25, 2020 (Doc. 1);

                  3.     Third Amended Class Action Complaint and Jury Demand filed by the Fitouri
                         Plaintiffs November 23, 2021 (Doc. 219);

                  4.     Order on Jefferson County Deputies’ Motion for Summary Judgment filed February
                         2, 2022 (Do. 298);
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 2 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 2


        5.    Order on Denver Defendants’ Motion for Summary Judgment filed March 1, 2022
              (doc. 304);

        6.    Fitouri Plaintiffs’ Motion for Attorneys’ Fees and Costs filed June 1, 2022 (Doc. 380)
              as well as the following attachments thereto:

                   a. Exhibit A: Declaration and Timesheet of Elizabeth Wang (Doc. 380-2);

                   b. Exhibit B: Declaration and Timesheet of Makeba Rutahindurwa (Doc. 380-
                      3);

                   c. Exhibit C: Declaration and Timesheet of Jon Loevy (Doc. 380-4);

                   d. Exhibit D: Declaration and Timesheet of David B. Owens (Doc. 380-5);

                   e. Exhibit E: Declaration and Timesheet of Steven Art (Doc. 380-6);

                   f. Exhibit F: Declaration and Timesheet of Katie Roche (Doc. 380-7);

                   g. Exhibit G: Affidavit of Erica Grossman (Doc. 380-8);

                   h. Exhibit H: Declaration and Timesheet of Brian Swift (Doc. 380-9);

                   i. Exhibit I: Declaration and Timesheet of Andy Thayer (Doc. 380-10);

                   j. Exhibit J: Order in Willmeng v. City of Lafayette, Colo., No. 1:19-cv-150
                      (D. Colo.) (Doc. 380-11);

                   k. Exhibit K: Fitzpatrick Matrix (Doc. 380-12);

                   l. Exhibit L: March 17, 2022 Order awarding fees to Loevy & Loevy attorneys
                      and paralegals in Calloway v. Chicago Police Dep’t, No. 19 CH 14190
                      (Cook County) (Doc. 380-13);

                   m. Exhibit M: Spreadsheet of Section 1988 Expenses, with receipts and
                      invoices (Doc. 380-14);

                   n. Exhibit N: 3/14/22 Trial Transcript (Officer Valentine cross and redirect,
                      excerpts) (Doc. 380-15);

                   o. Exhibit O: 3/23/22 Trial Transcript (Officer Hamilton cross, excerpts) (Doc.
                      380-16);

                   p. Exhibit P: Lt. Vincent Porter Deposition, excerpts (Doc. 380-17);

        7.    Various websites for the attorneys involved in representing the Plaintiffs; and
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 3 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 3


         8.    The Colorado Bar Association’s 2017 Economics of Law Practice Survey.

         In addition to my review of the above pleadings and other documents, I have discussed this
  case with you.

                               I. EXPERIENCE AND BACKGROUND

          I am an attorney licensed to practice law in the State of Colorado and have been since 1992.
  I was also admitted to practice law in the State of Maine in 1991. In addition to the state courts of
  Maine and Colorado, I have been admitted to practice law before the United States District Courts
  for the Districts of Maine and Colorado, as well as the United States Court of Appeals for the
  Tenth Circuit. I have been admitted pro hac vice to state courts in Seattle, Washington and Boston,
  Massachusetts. I am a shareholder at Dietze and Davis, P.C. in Boulder and have been since
  January 2016. Prior to that, I practiced law at Wood, Ris & Hames, P.C. in Denver for 23 years,
  becoming a shareholder with that firm in 1998. Prior to joining Wood, Ris & Hames, I served as
  a judicial law clerk to the Honorable Alfred A. Arraj of the United States District Court for the
  District of Colorado from 1991 to 1992. In addition, I served as a judicial law clerk to the
  Honorable D. Brock Hornby of the United States District Court for the District of Maine from
  1990 to 1991. I graduated from the University of Colorado School of Law in 1990, where I served
  as a staff editor of the University of Colorado Law Review. I graduated from Colby College in
  Waterville, Maine in 1984. I am an AV-rated attorney by Martindale-Hubbell and have been
  named as a Colorado Super Lawyer. I was selected for membership to the American Board of
  Trial Advocates (“ABOTA”), an invitation-only national association of experienced trial lawyers
  and judges dedicated to the preservation and promotion of civil jury trials.

           A significant part of my legal practice involves the defense of employers as well as
  governmental entities and employees in employment and civil rights litigation. I have litigated
  employment and constitutional claims in state and federal court and tried a number of them to
  verdict. I am regularly retained to represent employers in all manner of employment law claims
  arising under Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act, the
  Age Discrimination in Employment Act, as well as the Fair Labor Standards Act. I also regularly
  litigate cases brought pursuant to 42 U.S.C. § 1983, including First, Fourth and Eighth Amendment
  claims. I am familiar with the nature and type of work necessary to conduct discovery, engage in
  motions practice under Rules 12 and 56, prepare for and try these types of cases to verdict in this
  community, and handle such matters on appeal. I am frequently retained to serve as an expert
  witness evaluating attorney’s fees sought by prevailing parties in employment and civil rights cases
  and have substantial experience with respect to what reasonable rates for this type of work are in
  this community.

          As a shareholder now at Dietze and Davis as well as previously at Wood, Ris & Hames, I
  am responsible for preparing and submitting billing statements for legal services rendered on a
  regular and constant basis. I am also responsible for managing and overseeing the work of many
  other timekeepers, at the partner, associate, and paralegal levels. In conjunction with these duties,
  I review the billing records of attorneys and paralegals that perform legal services for my clients.
  I regularly review, edit, and revise billing statements sent to individuals, large and small private
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 4 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 4


  entities, governmental entities, as well as insurance companies for many of the attorneys in my
  firm. I am responsible for ensuring the billing statements received by my clients contain an
  adequate and sufficient level of detail outlining the legal services provided. In doing so, I regularly
  analyze and review the amount of time expended by other attorneys and paralegals in my firm to
  determine reasonableness. Part of that process involves having an understanding as to how much
  time certain tasks should normally take. This includes preparation of disclosures and written
  discovery, the preparation and filing of various preliminary pleadings when a matter has recently
  been filed, conducting depositions, filing briefs in support of or in opposition to dispositive
  motions, preparing for and attending trial, and briefing matters on appeal.

           Part of my role as a senior shareholder and billing attorney is to exercise billing judgment
  to ensure the reasonableness of the billing statements I send out. This requires me to ensure the
  rates charged by my firm are in line with those charged in the Colorado market for the type of
  work that we do. It also requires that I monitor the type of fees potentially sought by plaintiffs and
  their counsel in contingent-fee litigation when fees are sought pursuant to 42 U.S.C. § 1988.
  In addition to my responsibility for reviewing and submitting bills to my clients, I have also
  submitted and prepared affidavits supporting my own requests for attorney’s fees and costs in
  litigation and litigated requests for attorney’s fees. I am regularly retained as an expert regarding
  the reasonableness of attorney’s fees sought by plaintiffs who have been successful in litigating
  matters encompassed by the federal civil rights statutes, including 42 U.S.C. § 1988. My opinions
  with regard to the reasonableness of attorney’s fees were adopted and cited with approval by
  District Court Judge C. Scott Crabtree in Adams County District Court in Brinkman, et al. v. State
  of Colorado, Case No. 13-cv-32572, in conjunction with the attorney’s fees sought by the plaintiffs
  in that case, which successfully challenged the State of Colorado’s same-sex marriage prohibition.
  I was accepted as an expert witness and testified with respect to the reasonableness of claimed
  attorney’s fees by District Court Judge Deborah R. Eyer in Pueblo County District Court.

                  II. REASONABLENESS OF THE HOURLY RATES CLAIMED

          The Fitouri Plaintiffs seek attorney’s fees in this case in the amount of $1,432,885. These
  Plaintiffs seek recovery for work performed by six attorneys, a paralegal, and an office manager.
  For the reasons discussed below, it is my opinion the hourly rates requested for these timekeepers
  are excessive and beyond what is reasonable in this community and legal market.

           The Fitouri Plaintiffs’ claim for attorney’s fees is a statutory one, predicated on achieving
  prevailing-party status under the attorney-fee shifting mechanism created by 42 U.S.C. § 1988.
  My review of their claim for attorney’s fees is guided by my thirty plus years of experience
  litigating these types of cases. In addition, of course, any such claim for attorney’s fees must be
  analyzed in accordance with the legal framework established by the Supreme Court’s largely
  controlling decision analyzing such statutory fee requests, Hensley v. Ekerhart, 461 U.S. 424
  (1983), along with the Tenth Circuit’s seminal decision regarding attorneys’ fees under § 1988,
  Ramos v. Lamm, 713 F.2d 546 (10th Cir. 1983).

         I have reviewed the relevant information presented or available with regard to a
  determination of a reasonable hourly rate for Plaintiffs’ counsel. It is my opinion the hourly rates
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 5 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 5


  requested do not reflect a reasonable hourly rate in this community for attorneys of their
  background, training, and experience. The following table reflects the hourly rates requested by
  Plaintiffs’ counsel as well as the hourly rates I believe are more reasonably supported:

                     Name                       Requested            Reasonable
                                                Hourly Rate          Hourly Rate

                     Jon Loevy                  $650                 $475
                     Elizabeth Wang             $595                 $400
                     Steven Art                 $545                 $325
                     David B. Owens             $545                 $300
                     Katie Roche (associate) $375                    $250
                     Makeba Rutahindurwa $375                        $225
                     (associate)
                     Brian Swift (paralegal) $175                    $115
                     Andy Thayer (office $175                        $0
                     manager)

  The bases for my hourly rate opinions are set forth below.

          The burden on Plaintiff’s counsel in establishing a proper hourly rate for an award of fees
  under 42 U.S.C. § 1988 is generally to show what “lawyers of comparable skill and experience
  practicing in the area in which the litigation occurs would charge for their time.” Ramos v. Lamm,
  supra, 713 F.2d at 555; Lucero v. Trinidad, 815 F.2d 1384, 1385 (10th Cir. 1987). The calculation
  itself must be based on prevailing market rates in the relevant community, here in Denver.

          Determining the proper market rate for plaintiff employment or civil rights work is an
  interesting task. The vast majority of cases of this nature are taken by counsel on a contingent
  basis, as was apparently the circumstance here. Because of the nature of this type of practice, it is
  more difficult to survey, or otherwise assess, what the reasonable market rate is for a plaintiff’s
  employment or civil rights practitioner. This is so because such a determination is, by necessity
  and reality, not made competitively on the open market driven by what clients will pay and what
  attorneys are able to charge, but rather is generally established by what a reviewing judge may
  determine is reasonable. Judicial officers thus become essentially the marketplace, endeavoring
  to determine a reasonable hourly rate based on their best estimate of what the market is from the
  evidence and materials presented, even though, practically speaking, there is no ascertainable
  market for plaintiff’s civil rights or employment work undertaken on a contingent or pro bono
  basis. The judiciary essentially is the marketplace.
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 6 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 6


           Typically, plaintiff’s counsel requests a certain rate she believes is appropriate and supports
  this request with her own affidavit and/or affidavits from other attorneys expressing their opinions
  the requested rate is reasonable. The defendant, as here, may request another attorney to opine
  what he may believe is reasonable. Ultimately, a court must make this determination based on the
  evidence presented. 1 Thus, figuring a reasonable market rate for a plaintiff’s employment or civil
  rights attorney who has prevailed on behalf of her client is driven not really by the market, but
  rather by whatever a court may ultimately conclude is reasonable. Suffice it to say there are very
  few, if any, consumers of legal services, particularly employees with employment claims or
  individuals with civil rights claims in Colorado, who would ever pay anything close to $600 per
  hour for legal representation. There are also very few plaintiff’s employment or civil rights
  attorneys regularly awarded an hourly rate approaching this level in this jurisdiction. With these
  realities in mind, I address the hourly rates sought by Plaintiffs’ attorneys in this case.

          Ms. Wang and Ms. Rutahindurwa were the primary attorneys for the Fitouri Plaintiffs, and
  I thus direct most of my comments to determining a reasonable hourly rate for them.

         Elizabeth Wang

           I have reviewed the relevant and available information presented with regard to the
  determination of a reasonable hourly rate for Ms. Wang. Ms. Wang received her law degree in
  2005 and commenced private practice following a fellowship and two clerkships in 2008. She
  apparently took a hiatus from practice for two years to serve as a lecturer (this is not clear). Ms.
  Wang has thus been practicing law for 14 years, 12 years if the time as a lecturer is not considered.
  Ms. Wang is an accomplished and experienced litigator in the area of civil rights law, particularly
  claims on behalf of those contending they were wrongfully convicted. Though I disagree with the
  hourly rate requested on her behalf, I do not in any way denigrate or impugn either her abilities or
  her reputation. To the contrary. However, her requested hourly rate of $595 per hour would place
  her rate at or even above what I consider to be the very highest reasonable rates for plaintiff’s
  employment and civil rights attorneys practicing in Colorado. And not every attorney practicing
  in these areas, even accomplished counsel with 12 (or 14) years of experience like Ms. Wang,
  command the very highest awardable hourly rate. Otherwise, every successful employment and
  civil rights attorney would seek over $500 per hour after achieving some measure of success. In
  fact, it seems that more and more, this is the case. Taking into consideration Ms. Wang’s
  experience as an attorney, particularly in the area of civil rights law, and taking into consideration
  her years of experience, the nature of her practice, and the jurisdiction where she practices, it is
  my opinion a more reasonable hourly rate for Ms. Wang is $400 per hour, still a very high hourly
  rate, and one I believe more accurately reflects her skill and experience in this area of the law.



         1
            “A district court abuses its discretion when it ignores the parties’ market evidence and
  sets an attorney’s hourly rate using the rates it consistently grants. The court may not use its own
  knowledge to establish the appropriate rate unless the evidence of prevailing market rates before
  the court is inadequate.” United Phosphorus, Ltd. v. Midland Fumigant, Inc., 205 F.3d 1219, 1234
  (10th Cir. 2000) (internal citations omitted).
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 7 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 7


          My opinion regarding this hourly rate is based not only on my own experience and
  understanding of the Colorado legal market but is also based on the 2017 Economics of Law
  Practice Survey (“Survey”) published by the Colorado Bar Association relating to the hourly rates
  charged by Colorado attorneys in various practice areas. I consider the Survey to be a very helpful
  (and fully impartial) assessment of hourly rates charged by attorneys in this jurisdiction. The
  Survey discusses attorney billing rates in Colorado, and breaks those rates down by firm size, years
  in practice, office location, primary field of law, and practice classification of attorneys. 2

          Looking at these categories with regard to Ms. Wang, I note the mean or average billable
  rate for attorneys in law firms of 20 to 49 attorneys (her firm has approximately 40 attorneys
  collectively) is $279 per hour. The median and 75th percentiles for firms this size show $275 and
  $350 per hour, respectively. Attorneys with 10 to 19 years of practice (again, Ms. Wang appears
  to have either 12 or 14 years of experience), have a mean or average hourly rate of $244 per hour.
  The median and 75th percentiles show $250 and $300 per hour, respectively. Similarly, the mean
  or average hourly rate for attorneys practicing in Boulder is $254 per hour, with the median and
  75th percentiles coming in at $253 and $300 per hour, respectively. Denver is comparable. The
  2017 Survey provides information about labor and employment attorneys who represent
  employees (perhaps the most analogous category to plaintiff’s civil rights work), though it does
  not break out or specify the attorneys’ years of experience, the size of their firm, or where they
  practice. Nevertheless, the mean or average hourly rate for such attorneys is $309 an hour, the
  median is $313 per hour and the 75th percentile for plaintiff side employment attorneys is $356 an
  hour. 3

          Looking at all of these categories and considering Ms. Wang’s level of experience in the
  area of civil rights, I believe an hourly rate best taking into consideration her years of experience,
  the size of her firm, the location where she practices, as well as rates for employment and civil
  rights practitioners, is $400 an hour. I think this is a reasonable rate under these circumstances

         2
             Several Courts in this District have agreed the Survey “establishe[s] a baseline of
  reasonableness” for attorney hourly rates in Colorado, see Fresquez v. BNSF Railway, Co. Civil
  Action No. 17-cv-0844-WJM-SKC, Order dated March 18, 2021 (Judge Martinez), and that “the
  relevant categories of the 2017 Colorado Survey [are] instructive.” Barrington v. United Airlines,
  Inc., Civil Action No. 15-cv-00590-CMA-MLC, Order dated June 1, 2018 (Judge Arguello). See
  also Home Loan Inv. Co. v. St. Paul Mercury Ins. Co., 78 F. Supp. 3d 1307, 1318 (D. Colo. 2014)
  (noting because the Survey “provides the most recent data and is specific to Colorado, it provides
  the best indication of the current reasonable hourly rate in the Denver area” as well as “a helpful
  baseline in determining the customary rates in the community for lawyers of reasonably
  comparable skill, experience and reputation.”).
          3
             It is interesting to note the same survey when released in 2008 and 2012 identified
  plaintiff/employee side employment lawyers in the 95th percentile as billing roughly $350 per hour.
  The lack of any significant increase during that time frame is certainly consistent with my own
  assessment of the market during those years, which was rather static, perhaps reflecting the
  lingering recessionary effects of the economy. Hourly rates have increased more so over the last
  several years, and I recognize the Survey has not been updated since 2017.
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 8 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 8


  and one that still places her at the upper end of hourly rates for civil rights attorneys. Ms. Wang’s
  requested hourly rate of $595 per hour would place her, in my opinion, actually at or above a
  reasonable hourly rate for the very highest level of Plaintiff’s employment and civil rights
  attorneys in Colorado. I do not believe such a placement or characterization is supported.

         Makeba Rutahindurwa

          Ms. Rutahindurwa received her law degree in 2019 and completed a judicial clerkship
  following law school. She commenced private practice at Plaintiffs’ counsel’s firm in late 2020.
  In her declaration, she indicates that she has “one-and-a-half years” of experience. In any event,
  she has less than two years of experience in private practice. Plaintiffs have requested $375 per
  hour for her time spent in this matter. I believe this hourly rate for essentially a brand-new
  associate attorney is not supported. Instead, it is my opinion a reasonable hourly rate for Ms.
  Rutahindurwa is $225 per hour.

         My opinion regarding an appropriate hourly rate for Ms. Rutahindurwa is again based not
  only on my experience and understanding of how time spent by associates is billed to clients in
  the Colorado legal market, but also on the data reported in the 2017 Colorado Bar Association
  Survey. The mean or average billable rate for associate attorneys with between one and two years
  of experience is $192 per hour. The median and 75th percentile for attorneys at this level of
  experience is $193 and $244, respectively.

         Taking all of this information into consideration, it is my opinion that $225 per hour is a
  reasonable rate for Ms. Rutahindurwa based on the Colorado legal market.

         Other Attorneys

          The following attorneys had very little involvement in the prosecution of this case,
  particularly Mr. Art (2.5 hours), Mr. Owens (3.25 hours) and Mr. Loevy (8.5 hours). Ms. Roche
  spent less than a week working on the case (37.25 hours). Given the limited hours claimed by
  these timekeepers, any determination of a reasonable hourly rate for them will have only a de
  minimis impact on Plaintiffs’ fee petition. All of these timekeepers tracked their time in quarter
  hour intervals instead of by the tenth of an hour, always a dubious billing practice (as addressed
  below). All four largely report entries reflecting internal communications with Ms. Wang. It is
  my opinion none of claimed time entries for Mr. Loevy, Ms. Roche, Mr. Art or Mr. Owens should
  be compensable under these circumstances. Regardless, I also conclude the hourly rates claimed
  on their behalf are unreasonable.

         Jon Loevy

          Mr. Loevy received his law degree in 1993 and has been practicing law for 29 years. Based
  on his Declaration, Mr. Loevy is a very successful Plaintiff’s civil rights attorney, largely it would
  appear in Illinois, and particularly Chicago. Though I disagree with the hourly rate requested on
  his behalf, I am sure he is a very skilled and experienced advocate. His declaration largely focuses
  on his economic successes. Regardless, his requested hourly rate of $650 per hour would place
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 9 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 9


  him well above what I consider to be the very highest reasonable rates for plaintiff’s employment
  and civil rights attorneys practicing here in Colorado (as opposed to in Chicago, Illinois). And, as
  mentioned above, not every attorney practicing in these areas, even accomplished counsel like Mr.
  Loevy, command the very highest reasonable hourly rate.

           Taking into consideration Mr. Loevy’s experience as an attorney, particularly in the area
  of civil rights law, and taking into consideration his years of experience, the nature of his practice,
  and general market rates in this jurisdiction (as opposed to Illinois), it is my opinion a more
  reasonable hourly rate for Mr. Loevy is $475 per hour, still a very high hourly rate, and one that
  I believe more accurately reflects his skill and experience in this area of the law.

          My opinion regarding this hourly rate is based not only on my own experience and
  understanding of the Colorado legal market but is also based on the Colorado Survey. Looking at
  the relevant categories with regard to Mr. Loevy, I note that attorneys with 20 to 29 years of
  practice (Mr. Loevy has 29), have a mean or average hourly rate of $274 per hour. The median
  and 75th percentiles show $275 and $326 per hour, respectively. Again, the mean or average
  hourly rate for attorneys practicing in downtown Denver (as opposed to Chicago) is $308 per hour,
  with the median and 75th percentiles coming in at $250 and $315 per hour, respectively. As above,
  the Survey includes data for labor and employment attorneys who represent employees, though it
  does not break out or specify the attorneys’ years of experience, the size of their firm, or where
  they practice. Nevertheless, the mean or average hourly rate for such attorneys is $309 an hour,
  the median is $313 per hour and the 75th percentile for plaintiff side employment attorneys is $356
  an hour.

         Taking all of this information into consideration, it is my opinion that $475 per hour is a
  reasonable rate for Mr. Loevy based on the Colorado legal market.

         Katie Roche

          Ms. Roche graduated from law school in 2015 and worked as an associate at Plaintiffs’
  counsel’s firm for almost 6 years. Her last actual work on this file was in April 2021. I consider
  her to have had roughly five years of experience when she last performed any work on behalf of
  Plaintiffs. Plaintiffs also seek $375 per hour for her time spent in this litigation.

         I do not believe the requested rate is supported. Instead, it is my opinion a reasonable
  hourly rate for Ms. Roche is $250 per hour. This opinion is based on my experience and
  understanding of billing rates in Colorado and is fully supported as well by the Survey. The mean
  or average billable rate for associate attorneys with between five and nine years of experience is
  $225 per hour. The median and 75th percentile for attorneys at this level of experience is $225 and
  $275, respectively. And of course, Ms. Roche would fall at the very low end of this range.

         Steven Art

         Mr. Art graduated from law school in 2009 and followed this with two years as a judicial
  law clerk. He commenced private practice in 2011 and has thus been an attorney for 11 years.
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 10 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 10


  Plaintiffs requests an award of $545 an hour for his time. Mr. Art’s experience and his work for
  the last decade is impressive, particularly in the appellate arena. However, in my opinion it does
  not translate to an entitlement of $545 an hour, particularly from a party’s opponent. It is my
  opinion, based on the information that has been presented about Mr. Art’s practice, based on his
  years of practice and experience as well as the information contained in the 2017 Survey, that a
  more reasonable hourly rate for Mr. Art is $325 per hour. But, as indicated, given his limited time
  entries in this case, I don’t believe any of his time should be compensable.

         David B. Owens

         Mr. Owens received his law degree in 2010 and was a judicial law clerk thereafter for two
  years before commencing private practice in 2012. It is unclear whether Mr. Owens has been in
  continuous practice since then as he has spent some significant time as a lecturer and instructor
  and is now a tenure track professor in the state of Washington. Given all of this, Mr. Owens
  appears to have well less than 10 years of actual experience.

          Despite this, Plaintiffs seek $540 an hour for his time. While I believe Mr. Owens indeed
  has impressive credentials and certainly has some experience, I do not agree the experience he has
  identified translates into such a high hourly rate. The Colorado Survey does not support Plaintiffs’
  request for his time. In addition to the data outlined above, the Survey reveals the mean hourly
  rate for attorneys with five to nine years of experience (like Mr. Owens) is $279. The median and
  75th percentile for attorneys with this many years of experience is $275 per hour and $350 per
  hour.

         Based on all of this information, it is my opinion that a more reasonable hourly rate for Mr.
  Owens is $300 per hour. But, as indicated, I do not believe any of Mr. Owen’s time, all of which
  were quarter hour time entries reflecting internal communications with Ms. Wang (and Ms.
  Rutahindurwa) is properly compensable.

         Brian Swift, paralegal

         Brian Swift has been a paralegal for 9 years. Plaintiffs seek an award of $175 per hour for
  his substantial time entries.

         It is my opinion $175 per hour is excessive and beyond what is reasonable in this
  community for a paralegal. Instead, it is my opinion that a more reasonable rate for a paralegal
  with 9 years of experience is $115 per hour. The 2017 Survey supports this conclusion. Even
  paralegals with twenty plus years of experience reported average billing rates of $125 dollars per
  hour. Paralegals with five to ten years of experience reported average hourly rates of $115 per
  hour. I generally agree with these numbers, and they are in accord with my own experience.

         Andy Thayer, Office Manager
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 11 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 11


         Mr. Thayer is identified in his Declaration as the Office Manager for Plaintiffs’ counsel.
  He spent 13.5 hours organizing expenses for Plaintiffs’ bill of costs and Plaintiffs seek an award
  of $175 per hour for his time.

          Time spent by support or administrative staff is not, in my opinion, properly billed to a
  client, much less to one’s adversary. I am aware of no authority supporting this type of award.
  Even if such an award might be appropriate, the requested rate of $175 is fully unsupported. I do
  not believe any award is reasonable or appropriate for administrative time spent by Mr. Thayer.

         Remaining Submissions by Plaintiffs

          In addition to the Declarations submitted by Plaintiffs’ counsel discussed above, the Fitouri
  Plaintiffs have also submitted the following materials in support of the hourly rates claimed for
  their counsel:

             •   Affidavit of Erica Grossman.

          Ms. Grossman has submitted an affidavit in support of the hourly rates requested by
  Plaintiffs’ counsel. Ms. Grossman opines the rates requested are, in her opinion, reasonable. Other
  than repeating some of the same arguments presented by Plaintiffs’ counsel in their fee petition
  and their declarations, Ms. Grossman offers very little in support of her stated opinions in support
  of the hourly rates Plaintiffs seek. In any event, I respectfully disagree with Ms. Grossman’s
  opinion. I believe the hourly rates requested are not reasonable. It is instead my opinion the rates
  I have identified above more reasonably reflect hourly rates for the attorneys and paralegals
  involved in this particular case.

             •   Other Colorado cases involving different attorneys.

           Plaintiffs’ counsel relies on hourly rates approved by other judges in this district in other
  cases for different lawyers, specifically an order by Judge Arguello in Willmeng v. City of
  Lafayette, Civil Action No. 19-CV-00150-CMA-SKC, Order dated March 25, 2019, and an order
  by Judge Martinez in Valdez v. Motyka, 2022 WL 1092182, *3 (D. Colo. 2022). I do not find
  these Orders terribly compelling, nor do I believe they support the hourly rates claimed by
  Plaintiffs’ attorneys in this case. In Willmeng, the court reviewed a stipulated motion regarding
  attorneys’ fees in the total amount of $14,000 in which the parties had agreed to hourly rates for
  attorneys at Killmer Lane and Newman. Though the court did conduct some level of independent
  review of the requested rates, the Order itself was based on a stipulation. In addition, the attorneys
  involved in that case are generally considered to be part of the higher echelon of employment and
  civil rights attorneys in this jurisdiction, and as indicated above, not every attorney, regardless of
  how qualified and credentialed, can be considered at that same level. 4 Similarly, Judge Martinez’

         4
            I am very familiar with the attorneys in that case, Mr. Lane, Mr. Killmer and Ms.
  Newman, and I have tried cases against them over the years. All three are excellent attorneys and
  all have been practicing almost exclusively in the areas of employment and civil rights for their
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 12 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 12


  decision in Valdez evaluated hourly rates claimed by attorneys at Haddon Morgan Foreman, 5
  which again I do not believe is instructive or determinative when considering the hourly rates
  claimed by Plaintiffs’ counsel in this case.

             •   The Fitzpatrick Matrix.

         Most of the Declarations and indeed Ms. Grossman’s Affidavit reference The Fitzpatrick
  Matrix, a document that really by definition has no applicability or relevance to evaluating
  reasonable hourly rates in this district. The Fitzpatrick Matrix (like the Laffey Matrix relied upon
  by counsel for the Epps Plaintiffs) was developed to evaluate and evidently provide guidance with
  respect to hourly rates for attorneys involved in complex federal litigation in the District of
  Columbia. As the explanatory notes make clear, the Matrix “has not been adopted by the
  Department of Justice generally for use outside the District of Columbia, nor has it been adopted
  by other Department of Justice components.”

           The salient inquiry in this matter, and indeed any fee request under 42 U.S.C. § 1988, is
  the reasonable hourly rate in the applicable jurisdiction, here Colorado. Perhaps the best example
  of the inapplicability of the Fitzpatrick Matrix in this jurisdiction are its data points reflecting an
  attorney with less than a year of experience could reasonably seek an hourly rate of $440 an hour.
  In my opinion, this is patently unreasonable in any jurisdiction, but is certainly unreasonable in
  Colorado. I do not think the Fitzpatrick Matrix provides any guidance to this Court any more than
  other matrixes similarly presented in claims for attorneys’ fees. In my experience, most judges in
  this jurisdiction generally disregard these matrixes in light of their inapplicability. See Barrington
  v. United Airlines, supra at 13 (“The Laffey Matrix is also inapplicable because it provides rates
  for attorneys in Washington, D.C and Baltimore, not Denver, Colorado.”). Even in the District of
  Columbia, Courts have expressed hesitancy about relying on the Laffey Matrix (the predecessor
  to the Fitzpatrick Matrix). See Urb. Air Initiative, Inc. v. EPA, 442 F. Supp. 3d 301, 322 (D.C.C.
  2020) (“Because the D.C. Circuit deems fee matrices as somewhat crude, fee applicants must
  supplement[] fee matrices with other evidence such as surveys to update the[m]; affidavits reciting
  the precise fees that attorneys with similar qualifications have received from fee-paying clients in
  comparable cases; and evidence of recent fees awarded by the courts or through settlement to
  attorneys with comparable qualifications handling similar cases.”).


  entire careers. Indeed, Ms. Newman has been practicing for over 25 years, Mr. Killmer for well
  over 30 years and Mr. Lane well over 40 years. Each of these attorneys thus has twice as many
  years of experience as Ms. Wang. So, rates approved for these other attorneys following a
  stipulated fee request (as occurred in Willmeng) are unhelpful to determining a reasonable hourly
  rate for Plaintiffs’ counsel here. That not all attorneys command the highest hourly rates even
  when successful is best exemplified by Judge Arguello’s order in Barrington v. United Airlines,
  supra, approving the rate of $300 per hour for an experienced civil rights practitioner with almost
  40 years of experience.
          5
            Jeffrey Pagliuca has been practicing in the areas of employment and civil rights law for
  40 years and Laura Menninger has been practicing for 25 years. Both have decades more
  experience in these areas than Ms. Wang.
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 13 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 13


              •      Calloway v. Chicago Police Department.

          Lastly, Plaintiffs argue attorneys (apparently different attorneys) from Loevy and Loevy
  have been awarded rates in Illinois supporting the rates claimed by their counsel here. See,
  Calloway v. Chicago Police Department, attached as Exhibit L to Plaintiffs’ fee petition. Neither
  this Order, nor any other Order from the State of Illinois, provide any guidance to this Court in
  determining and assessing a reasonable hourly rate for attorneys practicing in this jurisdiction,
  particularly orders from other jurisdictions addressing reasonable hourly rates for different
  attorneys.

              III.      REASONABLENESS OF THE NUMBER OF HOURS CLAIMED

         A.          Introduction

         As with the determination of a reasonable hourly rate, I am guided in reviewing the number
  of hours reasonably expended on the litigation by my personal experience in litigating these types
  of cases and sending out invoices to clients for the work performed. And of course, any such
  determination must inevitably look to the controlling guidance provided by Hemsley v. Eckhart
  and Ramos v. Lamm, supra. Here, as indicated above, I conclude the time claimed for attorneys
  Jon Loevy, Steven Art, David Owens or Katie Roche should not be compensable. Their
  involvement was too modest and unrelated to the overall litigation, and the time they did include
  was almost entirely interoffice communications with Ms. Wang. 6 I have focused instead on the
  time records generated by Ms. Wang, Ms. Rutahindurwa and Mr. Swift.

         B.          Billing Judgment

          A lawyer is obligated, when billing a client, to exercise careful billing judgment. Billing
  judgment in this context is the process of eliminating or reducing charges in a billing statement
  that would not or should not, in most circumstances, be billed to a client. “Billing judgment
  consists of winnowing the hours actually expended down to the hours reasonably expended.” Case
  v. Unified School Dist. No. 233, 157 F.3d 1243, 1250 (10th Cir. 1998). As the Tenth Circuit has
  noted, lawyers “charging fees to adversaries rather than clients may be less likely to carefully
  scrutinize the hours spent to determine if payment for the task performed is justified.” Id. In my
  experience, this almost invariably occurs. 7
         6
            Of Ms. Roche’s 37.25 claimed hours, 30.75 of them relate to even more time by counsel
  viewing videos as discussed below. The remainder is a communication with Ms. Wang, reviewing
  her declaration or reviewing materials that do seem to have advanced the Fitouri Plaintiffs’ claims.
          7
            Although there is suggestion in the Fitouri fee petition that some fees have already been
  cut or reduced, I see no effort to demonstrate this fact or quantify any such reduction (with, for
  example, zero rated time entries). Inclusion of such specifics assists the Court in determining
  whether billing judgment has in fact been exercised before filing the fee petition. But, that did not
  occur.
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 14 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 14



          An attorney is obligated to exercise billing judgment in sending out an invoice or statement
  to a client. The Tenth Circuit has instructed in determining the amount of reasonable fees that
  might be appropriate in a case:

          It does not follow that the amount of time actually expended is the amount of time
          reasonably expended. In the private sector, ‘billing judgment’ is an important
          component in fee setting. It is no less important here. Hours that are not properly
          billed to one’s client, also are not properly billed to one’s adversary pursuant to
          statutory authority.

  Id. (italics in original).

         I have carefully reviewed the Declarations from all timekeepers at the Loevy & Loevy firm
  on behalf of the Fitouri Plaintiffs and several things stand out.

           The first of these is the manner in which the firm evidently keeps time generally. Most
  attorneys document time billed to clients in six-minute (or 1/10th of an hour) intervals. The
  attorneys at Loevy & Loevy on the other hand appear to have tracked their time utilizing fifteen
  minutes (or 1/4th of an hour) as the minimum amount of time to charge their clients. Utilizing this
  billing methodology certainly leads to more substantial billing. Many tasks attorneys perform are
  accomplished in less than fifteen minutes (and indeed well less than 5 minutes) and thus billing
  fifteen minutes for any task, regardless how long the task actually takes, inevitably increases the
  amount of a bill. It is my opinion the use of fifteen-minute minimum billing entries does not
  comport with an attorney’s obligation to exercise reasonable billing judgment. If the Loevy &
  Loevy firm has paying clients who have agreed in an engagement letter to pay their attorneys in
  that fashion, that is one thing. But to request an adversary, in this case the City and County of
  Denver, be subject to this billing practice is to me unreasonable. Because it is a virtually
  impossible task to go through the Fitouri Plaintiffs’ time statements and make appropriate
  adjustments, I believe a reasonable approach would be to apply a wholesale 15% reduction of all
  of the time entries documented by the Fitouri Plaintiffs’ counsel, if not more.

           The second issue that stands out to me is the lack of an actual billing statement. Generally,
  when an attorney sends a bill to a client, all of the time entries from all timekeepers are presented
  in the same invoice or document which enables meaningful analysis of what was done on a
  particular day and by whom. Instead, the Loevy & Loevy firm has simply generated what it calls
  “timesheets” associated with each timekeeper. I am not aware of any law firm that would bill a
  client in this fashion, forcing the client to sift through the various timesheets, add up the totals
  claimed per attorney at the law firm and then issue payment to the firm accordingly. Presenting
  timesheets in this fashion makes it harder to meaningfully analyze the time claimed by all of the
  timekeepers at Loevy & Loevy in a meaningful fashion. Because it is not the Defendant’s
  obligation nor is it the duty of this Court to engage in the type of review required to fully compare
  all of the various timesheets presented, it is my opinion that a reasonable approach would be to
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 15 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 15


  apply a wholesale 5% reduction of all the time entries documented by the Fitouri Plaintiffs’
  counsel.

         D.      Duplication of Effort

         The Tenth Circuit has issued strong cautionary language warning against any award of
  duplicated services. As the Court explained:

         For example, [if] three attorneys are present at a hearing when one would suffice,
         compensation should be denied for the excess time. Similarly, if the same task is
         performed by more than one lawyer, multiple compensation should be denied. The
         more lawyers representing a side of the litigation, the greater the likelihood will be
         for duplication of services . . . . Leading members of the profession have criticized
         the Bar for the burgeoning expense of modern litigation and attributed part of the
         problem to the practice of using several lawyers when one would suffice.

  Ramos, supra at 554 (emphasis added). The Tenth Circuit has also expressly stated:

         The presence of more than one lawyer at depositions and hearing must be justified
         to the Court. No fees should be awarded for hours reported by lawyers or law clerks
         who were present at depositions, hearings or trial for the purpose of being trained
         or who did not participate in or contribute to the proceedings.

  Id.

          I have reviewed the timesheets presented for Ms. Wang, Ms. Rutahindurwa and Mr. Swift.
  In general, I would say the timesheets reveal an effort not to submit billing that includes significant
  duplication of effort. Nevertheless, there are many entries that document what I consider to be
  “interoffice communications.” By this I mean sessions where two or more timekeepers in
  Plaintiffs’ counsel’s office meet to discuss the case, with all timekeepers billing. To me, as an
  attorney who has been billing clients for over a quarter of a century, there is an inherent tension
  that exists between the reality attorneys will appropriately confer with one another about a case,
  determine and effectuate strategy, and otherwise be prepared to fully represent their client and the
  inappropriate opposite of that circumstance when too many attorneys are simply involved in
  accomplishing the very same thing billing substantial time to their clients to communicate with
  one another. The problem is somewhat magnified when you have two different law firms
  representing two sets of Plaintiffs in the same litigation. It appears attorneys from both law firms
  representing the Epps Plaintiffs and the Fitouri Plaintiffs sought to coordinate their strategies.

         Nevertheless, while recognizing and appreciating this inevitable tension, I do note a
  number of time entries documenting what I consider to be excessive interoffice conferences.
  Given the volume of the timesheets presented, it is not terribly reasonable to try and go through
  and isolate and specifically pick out these interoffice conferences, but it is my opinion that a
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 16 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 16


  reasonable approach would be to apply a wholesale 2.5% reduction of all of the time entries
  documented by the Fitouri Plaintiffs’ counsel to address this issue.

           A more specific duplication of effort issue exists with respect to Ms. Rutahindurwa’s
  involvement in several aspects of this case. As discussed above, Ms. Rutahindurwa was a
  relatively brand-new associate and understandably needed to receive guidance and training from
  Ms. Wang as part of the process of essentially learning how to become a practicing attorney. And
  this is exactly what Ms. Wang’s role is as a partner in her law firm. It is her job to mentor and
  supervise associates. However, while it is laudable and important for Ms. Wang to do so, it is not
  in my opinion appropriate to bill a client, must less an adversary, for the tasks associated with that
  training. Specifically, Ms. Rutahindurwa sat in on various depositions in this case, observed the
  proceedings and took notes. See time entries on February 19, 2021 (5.5 hours), March 12, 2021
  (8.5 hours), April 28, 29 and 30, 2021 (17.25 hours), 8 May 25, 2021 (6.0 hours), August 26, 2021
  (4.0 hours), January 20, 2022 attending mediation (8.5 hours).

          It is my understanding there were a significant number of body cam and other videos
  disclosed in this case by various parties including Denver. I don’t doubt for a minute there were
  significant hours of videos and many gigabytes of data requiring review, nor do I underestimate
  the importance of these videos. Without having a better grasp of the videos and their significance
  at the time of trial or during the discovery phase, I am reluctant to express concerns about the
  number of different timekeepers at Loevy & Loevy who spent time in very large blocks reviewing
  what were inevitably the same videos. I will defer to you and the Court and who no doubt have a
  better handle on the magnitude of videos that existed in this case as to whether or not there was
  duplication of effort by paralegals, associates and partners in reviewing the videos. But it is
  certainly an issue that should be addressed.

         E.      Excessive Time

          A similar and related component to exercising billing judgment and avoiding duplication
  of effort is ensuring a billing statement sent to a client reflects a reasonable amount of time spent
  for a particular task. The more experience an attorney has, generally the more efficient the lawyer
  can be in drafting pleadings, conducting interviews, and doing the other things necessary to work
  up a case and prepare it for hearing or trial. Excess time should be deleted so it is not charged to
  a client. But this is not the burden of a defendant resisting a fee request under § 1988, nor is it the
  obligation of any reviewing court. Instead, inclusion of excessive time warrants a reduction in the
  hours claimed.



         8
            Ms. Wang was also involved in assisting Ms. Rutahindurwa in preparing for this
  deposition and includes time on her part providing Ms. Rutahindurwa “guidance during
  deposition” on the same dates. I think it is reasonable for Ms. Wang to bill her time associated
  with the Cunningham deposition, but it is not reasonable to charge the Defendants in this case for
  the time spent by both attorneys.
Case No. 1:20-cv-01878-RBJ Document 413-2 filed 08/05/22 USDC Colorado pg 17 of 17


  Andrew D. Ringel, Esq.
  August 4, 2022
  Page 17


          In reviewing the timesheets generated for associate attorney Rutahindurwa and paralegal
  Brian Swift, it is impossible not to note what appear to me to be excessive time entries, again
  associated with the review of various videos generated in this case. Indeed, Mr. Swift alone from
  January 4 through January 27, 2021 spent over almost 110 hours reviewing videos produced by
  the City of Aurora. His time entries include many six, seven, and eight hour billing days seemingly
  doing nothing but reviewing videos and taking notes. And he did this despite the fact Ms.
  Rutahindurwa also spent significant time from November 3, 2020, through December 1, 2020,
  reviewing what appear to have been the same videos. Indeed, most of Mr. Swift’s 785 hours are
  comprised of six and eight hour days spent reviewing videos and taking notes. If one assumes a
  reasonable paralegal might look to bill 1,500 hours in any given year, Mr. Swift seemingly spent
  six complete months doing nothing but reviewing videos associated with this case. To me, this
  sounds excessive, but I will again defer to you and to the Court, who have greater familiarity with
  the videos actually involved as to whether or not in particular Mr. Swift’s time entries associated
  with video review constitute excessive time that the Fitouri Plaintiffs are endeavoring to bill to an
  adversary.

                                                ****

         To the extent that any additional F.R.C.P. 26 disclosures are required, my background and
  experience are set forth in this report. More details about my practice can be found on my firm’s
  website: http://dietzedavis.com/william-rogers-iii/. I am being paid by the City and County of
  Denver $400.00 per hour for time spent as an expert witness in this matter. I have testified only
  once as an expert, in trial or by way of deposition, in the last four years. I testified on behalf of
  successful attorneys seeking the recovery of attorney’s fees in Pueblo County District Court on
  December 7, 2018 in Charter Asset Management Fund v. The Career Building Academy Inc., et.
  al.

          Should other information become available that you would like me to review and evaluate,
  please let me know.

                                                    Very truly yours,



                                                    William A. Rogers, III
  WAR/ck
